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 * Rev. 10/31/2022


                                   PLEASE READ CAREFULLY.
                Lead counsel is personally responsible for complying with this Order.

                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION


 JENNIFER BRUNNER,                              )    CASE NO. 4:23-CV-2180
                                                )
                     Plaintiff,                 )
                                                )    JUDGE BENITA Y. PEARSON
           v.                                   )
                                                )
 OHIO SECRETARY OF STATE, et                    )    TELEPHONIC CASE MANAGEMENT
 al.,                                           )    CONFERENCE SCHEDULING ORDER
                                                )
                     Defendants.                )

                        DATE OF CONFERENCE: April 17, 2024 at 10:00 a.m.

            LEAD COUNSEL AND PARTIES MUST BE TELEPHONICALLY PRESENT
               UNLESS EXCUSED BY THE COURT UPON WRITTEN MOTION.

                                         ELECTRONIC FILING
           Counsel are advised that all documents, notices and orders in this matter shall be filed
 electronically rather than on paper, except as provided for in the Electronic Filing Policies and
 Procedures Manual, which governs electronic filing in the Northern District of Ohio and also
 provides helpful information on system requirements and usage. The manual can be accessed
 online.1 Electronically filed documents should be in a text-searchable format.
           Notice of filings are sent electronically. It is the responsibility of each counsel of record
 to set up a user e-mail account to receive e-mail notification and to check that e-mail account on
 a regular basis. Directions for setting up e-mail notification are at the following link:
                              https://www.ohnd.uscourts.gov/electronic-filing
           If you have questions about electronic filing, please call any Northern District of Ohio
 Clerk’s Office location or our CM/ECF Help Desk at 1-800-355-8498.



 1
     https://www.ohnd.uscourts.gov/local-civil-rules-appendices
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                          DIFFERENTIATED CASE MANAGEMENT
        This case is subject to the provisions of Differentiated Case Management (DCM) as
 generally set forth in the Local Rules of the Northern District of Ohio. The Court will evaluate
 this case in accordance with LR 16.2(a)(1) and assign it to one of the case management tracks
 described in LR 16.2(a)(2). At the Case Management Conference (“CMC”), the Court will
 decide, after discussion with counsel, whether or not to impose any specific limitations on
 discovery. All counsel are expected to familiarize themselves with the Local Rules as well as
 with the Federal Rules of Civil Procedure.


                 SCHEDULING OF CASE MANAGEMENT CONFERENCE
        All counsel and parties will take notice that the above-entitled action has been set for a
 Telephonic Case Management Conference (“CMC”) on April 17, 2024 at 10:00 a.m. before
 Judge Benita Y. Pearson, Chambers 313, Thomas D. Lambros United States Court House, 125
 Market Street, Youngstown, Ohio. Counsel for Plaintiff shall set up the conference call and
 contact Chambers directly at (330) 884-7435, with all participants on the line. The Court
 requires personal participation of parties at the Case Management Conference, even when the
 conference is telephonic.
        LR 16.3(b) requires the attendance of both parties and lead counsel. “Parties” means
 either the named individuals or, in the case of a corporation or similar legal entity, that person
 who is most familiar with the actual facts of the case. “Party” does not necessarily mean
 in-house counsel or someone who merely has “settlement authority.” When a party is other than
 an individual or when a party’s interests are being represented by an insurance company, an
 authorized representative of such party or insurance company, with full authority to settle, shall
 attend. Lead counsel who is primarily responsible for each party’s case shall personally attend
 the CMC and shall be prepared and authorized to discuss all relevant issues, including
 settlement.
        If the presence of a party or lead counsel will constitute an undue hardship or a
 continuance is needed, a written motion to excuse the presence of such person or to continue


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 must be filed no later than fourteen (14) days prior to the CMC. Counsel are instructed to confer
 and agree on three proposed dates and include them in the motion for continuance.


                                   TRACK RECOMMENDATION
           Pursuant to LR 16.3(a), and subject to further discussion at the CMC, the Court
 recommends the following track:
           Expedited                      X    Standard                           Administrative
           Complex                             Mass Tort                          Reserved for CMC



                   CONSENT TO JURISDICTION OF MAGISTRATE JUDGE
           The parties are encouraged to discuss and consider consenting to the jurisdiction of the
 Magistrate Judge. (See Consent Package - Attachment No. 1)


                            PREPARATION FOR CMC BY COUNSEL
                          (Planning Conference under Fed. R. Civ. P. 26(f))
           LR 16.3(b)(2) sets the general agenda for the CMC. In all cases, including those
 exempted from initial disclosure by Fed. R. Civ. P. 26(a)(1)(B), counsel (or the party, if
 unrepresented) must confer prior to the CMC as required by Fed. R. Civ. P. 26(f).
           The Rule 26(f) conference shall be completed by no later than twenty-one (21) days
 before the CMC. The participation of parties represented by counsel is left to the discretion of
 their counsel. The Court does not require the personal participation of the parties at this
 conference.
           As part of their pre-CMC planning conference, counsel must determine whether there will
 be discovery of electronically stored information (“ESI”) [E-discovery]. If counsel anticipates E-
 discovery, they must decide on a method for conducting such discovery or agree to abide by the
 default standard set forth in Appendix K to the Local Civil Rules (copy attached as Attachment
 No. 2).



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         The parties (through counsel or personally, if unrepresented) shall file a report on their
 discussion, including a proposed discovery plan, in a form substantially similar to Attachment
 No. 3, signed by all counsel and/or unrepresented parties and submit this report to the Court no
 later than five (5) days before the CMC. See Attachment No. 4 for an example of an agreement
 regarding the handling of disclosed privileged material.
         Not later than fourteen (14) days before the CMC, Plaintiff(s) shall make a written
 demand with a description and monetary breakdown of the damages claimed. Not later
 than seven (7) days before the CMC, Defendant(s) shall respond in writing with an offer
 (even if the response is that they will not make an offer at this time). The fact that this has
 been done shall be noted in the Report of Parties’ Planning Meeting.


                         DISCLOSURES UNDER FED. R. CIV. P. 26(a)
          1. This is an ERISA case (Employee Retirement Income Security Act of 1974) and, as
 such, is not subject to disclosures. See Fed. R. Civ. P. 26(a)(1)(B). Counsel shall instead
 familiarize themselves with the procedure set forth in Wilkins v. Baptist Healthcare System, Inc.,
 150 F.3d 609, 619 (6th Cir. 1998) (Gilman, J., concurring).


    X     2. The disclosures mandated by Fed. R. Civ. P. 26(a) will all apply as set forth in that
 Rule.
         Absent a showing of good cause, no later than fourteen (14) days before the CMC, each
 party must serve on an opposing party the initial disclosures required by Fed. R. Civ. P. 26(a)(1),
 and must certify such service in writing to the Court by the same date.


          3. Initial Discovery Protocols were entered in this case. They are intended to supersede
 the parties’ obligations to make initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1).




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                                     TIMING OF DISCOVERY
        The 2015 Amendments to the Federal Civil Rules relaxed the moratorium on discovery.
 It is no longer necessary to wait until the CMC to propound discovery requests. Now, more than
 21 days after the summons and complaint are served on a party, an “early” request under Rule 34
 may be delivered. Delivery does not count as service. Rather, the Rule 34 request is considered
 to have been served at the first Rule 26(f) conference. Fed. R. Civ. P. 26(d)(2). A party may not
 seek formal discovery from any source before the parties have met and conferred at a Rule 26(f)
 conference. Fed. R. Civ. P. 26(d)(1).


                             FILING OF DISCOVERY MATERIALS
                                            (Fed. R. Civ. P. 5(d))
        Unless otherwise ordered by the Court, disclosures under Fed. R. Civ. P. 26(a)(1) or (2)
 and the following discovery requests shall not be filed until they are used in the proceeding or
 this Court orders filing: (1) depositions; (2) interrogatories; (3) requests for documents or to
 permit entry upon land; and (4) requests for admission.
        If a party intends to rely on deposition testimony in support of its position on a motion,
 the Court prefers the filing of the entire deposition rather than excerpts, unless the party truly
 believes that excerpts are sufficient, and with the proviso that any other party who believes the
 excerpts offered are not sufficient is free to file the entire deposition. In any event, discovery and
 disclosure material submitted in support of any party’s position shall be filed at the same time as
 that party’s memorandum setting forth its position.


                                     DEPOSITION PRACTICE
        The judges of the Northern District of Ohio have adopted LR 30.1 which governs the
 taking of depositions. A copy of the rule is attached as Attachment No. 5. Counsel are expected
 to comply with the rule in its entirety.




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                                      MOTIONS TO DISMISS
         This Court requires defendants to file an answer to the complaint regardless of whether
 they have filed or plan to file a motion to dismiss. The filing of a motion to dismiss shall not
 delay the time in which the party must answer the complaint.
         Before a defendant may file a motion to dismiss, it must submit a written request to be
 dismissed to opposing counsel. Opposing counsel shall either agree to the request for dismissal
 or shall give explicit reasons in writing for refusing to do so. Upon such refusal, the defendant
 shall reassess its position and may file a motion to dismiss if the party believes it is still entitled
 to dismissal. The motion to dismiss must be accompanied by a statement certifying that this
 exchange has occurred.


                                        OTHER DIRECTIVES
         In all cases in which it is anticipated that a party will seek attorney’s fees pursuant to
 statutory or case-law authority, no later than five (5) days before the CMC, such party shall
 submit to the Court by emailing judy_guyer@ohnd.uscourts.gov and cc’ing all other parties a
 preliminary estimate and/or budget of the amount of fees and expenses anticipated to be the
 subject of any such claim. Such estimate shall include, but not be limited to, the following:



 Attorney’s Fees
                                                         Costs
 Preliminary Investigations
 & Filing of Complaint           $                       Depositions                      $

 Procedural Motions Practice     $                       Experts                          $

 Discovery                       $                       Witness Fees                     $

 Dispositive Motions Practice    $                       Other                            $

 Settlement Negotiations         $

 Trial                           $

 TOTAL FEES                      $                       TOTAL COSTS                      $



                                                    6
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                                RESOLUTION PRIOR TO CMC
        In the event that this case is resolved prior to the CMC, counsel should submit a jointly
 signed stipulation of settlement or dismissal, or otherwise notify the Court that the same is
 forthcoming.



        IT IS SO ORDERED.


    February 28, 2024                          /s/ Benita Y. Pearson
 Date                                          Benita Y. Pearson
                                               United States District Judge




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